                                Case 8:19-bk-06564-MGW                     Doc 1       Filed 07/12/19           Page 1 of 66


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Time Definite Services, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  PO Box 15514                                                    794 Lake Brim Dr.
                                  Tampa, FL 33684                                                 Winter Garden, FL 34787
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hillsborough                                                    Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1935 CR 525 East, Sumterville, FL 33585
                                                                                                  1360 Madeline Lane, Ste. 300, Elgin, IL 60124
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 8:19-bk-06564-MGW                          Doc 1         Filed 07/12/19              Page 2 of 66
Debtor    Time Definite Services, Inc.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4841

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Time Definite Leasing, LLC                                      Relationship            Affiliate
                                                             Middle District of
                                                  District   Florida                       When       7/12/19                Case number, if known   8:19-bk-




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                               Case 8:19-bk-06564-MGW                        Doc 1        Filed 07/12/19             Page 3 of 66
Debtor   Time Definite Services, Inc.                                                               Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                             Case 8:19-bk-06564-MGW                        Doc 1        Filed 07/12/19              Page 4 of 66
Debtor    Time Definite Services, Inc.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 12, 2019
                                                  MM / DD / YYYY


                             X   /s/ Michael Suarez                                                       Michael Suarez
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Buddy D. Ford, Esquire                                                Date July 12, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Buddy D. Ford, Esquire 0654711
                                 Printed name

                                 Buddy D. Ford, P.A.
                                 Firm name

                                 9301 West Hillsborough Avenue
                                 Tampa, FL 33615-3008
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (813)877-4669                 Email address      All@tampaesq.com

                                 0654711 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                               Case 8:19-bk-06564-MGW                              Doc 1        Filed 07/12/19               Page 6 of 66




 Fill in this information to identify the case:

 Debtor name         Time Definite Services, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 12, 2019                           X /s/ Michael Suarez
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Suarez
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                    Case 8:19-bk-06564-MGW                           Doc 1         Filed 07/12/19                Page 7 of 66


 Fill in this information to identify the case:
 Debtor name Time Definite Services, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Webster Capital                                                 (Webster 10)                                                                                           $964,072.00
 Finance                                                         10-2017 Volvo 780
 3 Farm Glen Blvd.                                               Trucks, Vins
 Farmington, CT                                                  #xxx6501 (Unit
 06032                                                           #792) - Value:
                                                                 $80,475, xxx6492
                                                                 (Unit #793) -
                                                                 Value: 85,450,
                                                                 xxx6493 (Unit
                                                                 #794) - Value: $
 Sumitomo Mitsui                                                 (Sumitomo)                                                                                             $915,515.00
 Finance                                                         10-2017 Volvo 780
 and Leasing Co., Ltd                                            Trucks, Vins
 277 Park Ave., 15th                                             #xxx6502 (Unit
 Floor                                                           #802) - Value:
 New York, NY 10172                                              $69,050, xxx6503
                                                                 (Unit #803) -
                                                                 Value: $64,700,
                                                                 xxx6504 (Unit
                                                                 #804) - Value: $7
 JPMorgan Chase                                                  (Chase) See                                     $2,751,220.00             $1,942,045.00                $809,175.00
 Bank, NA                                                        attached
 55 S. Main Street
 Naperville, IL
 60540-5314
 JPMorgan Chase                                                  90 days or less:                                $4,400,000.00             $3,592,931.00                $807,069.00
 Bank, NA                                                        Accounts
 55 S. Main Street                                               Receivables (Less
 Naperville, IL                                                  than 90 days)
 60540-5314




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Time Definite Services, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Volvo Financial                                                 (Volvo 9) 10-2016                                                                                      $655,955.00
 Services US                                                     Volvo VNL64T 780
 LLC                                                             Trucks, Vins
 PO Box 26131                                                    #xxx6513 (Unit
 Greensboro, NC                                                  #813) - Value:
 27402-6131                                                      $78,975, xxx6516
                                                                 (Unit #816) -
                                                                 Value: $78,550,
                                                                 xxx6517 (Unit
                                                                 #817) - Val
 Volvo Financial                                                 (Volvo 10) 7-2017                                                                                      $655,205.00
 Services US                                                     Volvo VNL64T 780
 LLC                                                             Trucks, Vins
 PO Box 26131                                                    #xxx6687 (Unit
 Greensboro, NC                                                  #825) - Value:
 27402-6131                                                      $74,300, xxx6688
                                                                 (Unit #826) -
                                                                 Value: $69,000,
                                                                 xxx6689 (Unit
                                                                 #827) - Val
 BMO Harris Bank,                                                (BMO 4) 5-2017                                                                                         $591,653.03
 NA                                                              Freightliner
 300 E John                                                      Trucks, Vins
 Carpenter Freeway                                               #xxx4945 (Unit
 Irving, TX                                                      #1011) - Value:
 75062-2712                                                      $61,550, xxx4946
                                                                 (Unit #1012) -
                                                                 Value: $61,525,
                                                                 xxx4847 (Unit
                                                                 #1013) - Value:
 BMO Harris Bank,                                                (BMO 1) 5-2017                                                                                         $587,580.43
 NA                                                              Freightlinger
 300 E John                                                      Trucks, Vins
 Carpenter Freeway                                               #xxx4933 (Unit
 Irving, TX                                                      #1000) - Value:
 75062-2712                                                      $64,675, xxx4934
                                                                 (Unit #1001) -
                                                                 Value: $55,925,
                                                                 xxx4936 (Unit
                                                                 #1002) - Value:
 Navistar, Inc, fka                                              CounterClaim      Disputed                                                                             $580,000.00
 Internt'l                                                       (Case             Subject to
 Truck & Engine                                                  #14-MR-1475)      Setoff
 Corporation
 c/o Sanchez
 Daniels, Et.Al.
 333 W Wacker Dr.,
 Ste.500
 Chicago, IL 60606




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                    Case 8:19-bk-06564-MGW                           Doc 1         Filed 07/12/19                Page 9 of 66



 Debtor    Time Definite Services, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BMO Harris Bank,                                                (BMO 2) 4-2017                                                                                         $578,979.22
 NA                                                              Freightliner
 300 E John                                                      Trucks, Vins
 Carpenter                                                       #xxx4941(Unit
 Freeway                                                         #1008) - Value:
 Irving, TX                                                      $53,400, xxx4942
 75062-2712                                                      (Unit #1009) -
                                                                 Value: $59,050,
                                                                 xxx4922 (Unit
                                                                 #400) - Value: $6
 BMO Harris Bank,                                                (BMO 3) 5-2017                                                                                         $578,776.30
 NA                                                              Freightliner
 300 E John                                                      Trucks, Vins
 Carpenter Freeway                                               #xxx4932 (Unit
 Irving, TX                                                      #1005) - Value:
 75062-2712                                                      $63,250, xxx4943
                                                                 (Unit #1006) -
                                                                 Value: $59,825,
                                                                 xxx4944 (Unit
                                                                 #1010) - Value:
 Signature Financial,                                            (Signature 7)                                                                                          $538,052.32
 LLC                                                             10-2017 Great
 225 Broadhollow                                                 Dane Refrigerated
 Rd, Ste.132W                                                    Vans, Vins
 Melville, NY 11747                                              #xxx0284 (Unit
                                                                 #1691) - Value:
                                                                 $39,700, xxx0325
                                                                 (Unit #1692) -
                                                                 Value: $38,255,
                                                                 xxx0740 (Unit
 Volvo Financial                                                 (Volvo 8) 9-2016                                                                                       $494,694.00
 Services US                                                     Volvo VNL64T 780
 LLC                                                             Trucks: Vins
 PO Box 26131                                                    #xxx9060 (Unit
 Greensboro, NC                                                  #782) - Value:
 27402-6131                                                      $52,125,
                                                                 xxx9061(Unit
                                                                 #783) - Value:
                                                                 $55,575, xxx9062
                                                                 (Unit #784) - Value
 BMO Harris Bank,                                                (BMO 5) 4-2017                                                                                         $477,342.94
 NA                                                              Freightliner
 300 E John                                                      Trucks, Vins
 Carpenter Freeway                                               #xxx4938 (Unit
 Irving, TX                                                      #1014) - Value:
 75062-2712                                                      $60,300, xxx4948
                                                                 (Unit #1015) -
                                                                 Value: $53,400,
                                                                 xxx4935 (Unit
                                                                 #1016) - Value:




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Debtor    Time Definite Services, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BMO Harris Bank,                                                (BMO 7) 10-2017                                                                                        $477,156.87
 NA                                                              Great Dane
 300 E John                                                      Refrigerated
 Carpenter Freeway                                               Vans: Vins
 Irving, TX                                                      #xxx9186 (Unit
 75062-2712                                                      #2000) - Value:
                                                                 $39,375, xxx9195
                                                                 (Unit #2009) -
                                                                 Value: $39,825,
                                                                 xxx9187 (Unit
                                                                 #2001)
 Signature Financial,                                            (Signature 5)                                                                                          $439,199.99
 LLC                                                             9-2017 Great Dane
 225 Broadhollow                                                 Refrigerated Vans,
 Rd, Ste.132W                                                    Vins #xxx1021
 Melville, NY 11747                                              (Unit #1671) -
                                                                 Value: $37,000,
                                                                 xxx1022 (Unit
                                                                 #1672) - Value:
                                                                 $38,525, xxx1023
                                                                 (Unit #
 Signature Financial,                                            (Signature 6)                                                                                          $428,035.88
 LLC                                                             10-2017 Great
 225 Broadhollow                                                 Dane Refrigerated
 Rd, Ste.132W                                                    Vans, Vins
 Melville, NY 11747                                              #xxx0269 (Unit
                                                                 #1681) - Value:
                                                                 $37,325, xxx0270
                                                                 (Unit #1682) -
                                                                 Value: $29,900,
                                                                 xxx0271 (Unit
 Signature Financial,                                            (Signature 4)                                                                                          $365,280.58
 LLC                                                             9-2016 Great Dane
 225 Broadhollow                                                 Refrigerated Vans,
 Rd, Ste.132W                                                    Vins #xxx0027
 Melville, NY 11747                                              (Unit #1642E) -
                                                                 Value: $28,700,
                                                                 xxx0028 (Unit
                                                                 #1643E) - Value:
                                                                 $30,275, xxx0029
                                                                 (Unit
 American Express                                                Credit Card        Unliquidated                                                                        $300,000.00
 c/o Becket and Lee
 LLP
 PO Box 3001
 Malvern, PA 19355
 BMO Harris Bank,                                                (BMO 6) 1-2017                                                                                         $237,153.83
 NA                                                              Freightliner Truck,
 300 E John                                                      Vin #xxx4930 (Unit
 Carpenter Freeway                                               #408) - Value:
 Irving, TX                                                      $53,600
 75062-2712


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4

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 Fill in this information to identify the case:

 Debtor name            Time Definite Services, Inc.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       21,898,781.99

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       21,898,781.99


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       11,487,790.92


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            56,500.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       11,010,886.48


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         22,555,177.40




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                              Case 8:19-bk-06564-MGW                         Doc 1     Filed 07/12/19           Page 12 of 66

 Fill in this information to identify the case:

 Debtor name         Time Definite Services, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     JPMorgan Chase Bank, N.A.                               Checking                        3139                                             $0.00




           3.2.     Valley National Bank                                    Checking                        8008                                    $50,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $50,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 1
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 Debtor         Time Definite Services, Inc.                                                          Case number (If known)
                Name


           11a. 90 days old or less:                         3,592,931.00       -                                    0.00 = ....               $3,592,931.00
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                               340,775.99      -                                   0.00 =....                   $340,775.99
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                $3,933,706.99
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used    Current value of
                                                      physical inventory            debtor's interest          for current value        debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Various Tires, Oil Filters,
           and replacement parts                                                                    $0.00                                         $24,000.00




 23.       Total of Part 5.                                                                                                                   $24,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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 Debtor         Time Definite Services, Inc.                                                  Case number (If known)
                Name




 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           35-Desks w/ Chairs; 20-File Cabinets,
           Conference Room table w/ 12-chairs, 3-Small
           Kitchen tables w/ 12-chairs, and misc. office
           supplies                                                                         $0.00                                        $2,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           4-Forklifts, Racking Equipment, and Various
           tools                                                                            $0.00                                      $30,000.00


           McCleod Software                                                                 $0.00                                      $50,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $82,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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 Debtor         Time Definite Services, Inc.                                                 Case number (If known)
                Name

           47.1.     (WF - 1) 9 -2013 Great Dane Refrigerated
                     Vans, Vins #sxxx1027 (Unit #1460E) -
                     Value: $10,400, xxx1030 (Unit #1463E) -
                     Value: $9,100, xxx1031 (Unit #1464E) -
                     Value: $11,400, xxx1032 (Unit #1465E) -
                     Value: $12,125, xxx1033 (Unit #1466E) -
                     Value: $10,625, & xxx1034 (Unit #1467E)
                     - Value: $8,725, & *xxx1028 (Unit
                     #1461E) - Value: 8,725, *xxx1029 (Unit
                     #1462E) - Value $8,725, *xxx1035 (Unit
                     #1468E) - Value $8,725                                                 $0.00                              $88,550.00


           47.2.     (Peoples 6) 7-2016 Volvo 780 Trucks,
                     Vins: xxx4493 (Unit #774) - Value:
                     $55,575, xxx4494 (Unit #775) - Value:
                     $48,300, xxx4495 (Unit #776) - Value:
                     $64,675, xxx4498 (Unit #L-777) - Value:
                     $53,050, xxx4022 (Unit #779) - Value:
                     $60,275, xxx4621 (Unit #780) - Value:
                     $60,400, & xxx4622 (Unit #781) - Value:
                     $57,450                                                                $0.00                            $399,725.00


           47.3.     (Volvo 7) 5-2016 Volvo VNL64T 780
                     Trucks, Vin #xxx9065 (Unit #749) -
                     Value: $56,550, xxx9066 (Unit #750) -
                     Value: $51,175 -PARKED, xxx4005 (Unit
                     #753) - Value: $49,950 - PARKED,
                     xxx4007 (Unit #755) - Value: $58,550,
                     xxx4492 (Unit #756) - Value: $55,350                                   $0.00                            $271,575.00


           47.4.     (Peoples 2) 11-2013 Great Dane
                     Refrigerated Vans, Vins #xxx1005 (Unit
                     #1438E) - Value: $11,775, xxx1006 (Unit
                     #1439E) - Value: $8,750, xxx1008 (Unit
                     #1441E) - Value: $11,950, xxx1010 (Unit
                     #1443E) - Value: $15,375, xxx1011 (Unit
                     #1444E) - Value: $13,275, xxx1013 (Unit
                     #1446E) - Value: $10,700, xxx1015 (Unit
                     #1448E) - Value: $12,575, xxx1016 (Unit
                     #1449E) - Value: $16,075, xxx1017 (Unit
                     #1450E) - Value: $8,725, xxx1018 (Unit
                     #1451E) - Value: $23,825, xxx1019 (Unit
                     #1452E) - Value: $15,625                                               $0.00                            $148,650.00


           47.5.     (Peoples 3) 5-2016 Volvo 780 Trucks,
                     Vins #xxx4008 (Unit #757) - Value:
                     $50,750, xxx4015 (Unit #758) - Value:
                     $50,375, xxx4016 (Unit #759) - Value:
                     $54,150, xxx4017 (Unit #760) - Value:
                     $62,700, xxx4018 (Unit #761) - Value:
                     $53,075                                                                $0.00                            $271,050.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
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 Debtor         Time Definite Services, Inc.                                                 Case number (If known)
                Name

           47.6.     (Peoples 5) 4-2016 Volvo 780 Trucks,
                     Vins #xxx4019 (Unit #770) - Value:
                     $55,325, xxx4020 (Unit #771) - Value:
                     $60,300, xxx4021 (Unit #772) - Value:
                     $59,925, xxx4491 (Unit #773) - Value:
                     $61,125                                                                $0.00                            $236,675.00


           47.7.     (Sumitomo) 10-2017 Volvo 780 Trucks,
                     Vins #xxx6502 (Unit #802) - Value:
                     $69,050, xxx6503 (Unit #803) - Value:
                     $64,700, xxx6504 (Unit #804) - Value:
                     $74,600, xxx6505 (Unit #805) - Value:
                     $68,025, xxx6506 (Unit #806) - Value:
                     $68,125, xxx6507 (Unit #807) - Value:
                     $65,625, xxx6508 (Unit #808) - Value:
                     $74,375, xxx6509 (Unit #809) - Value:
                     $68,350, xxx6510 (Unit #810) - Value:
                     $71,050, & xxx6511 (Unit #811) - Value:
                     $75,025                                                                $0.00                            $698,925.00


           47.8.     (GE 7 - BMO) 9-2016 Great Dane
                     Refrigerated Vans, Vins #0048 (Unit
                     #1663E) - Value: $28,625, xxx0049 (Unit
                     #1664E) - Value: $27,150, xxx0050 (Unit
                     #1665E) - Value: $28,550, xxx0051 (Unit
                     #1666E) - Value: $29,675, xxx0052 (Unit
                     #1667E) - Value: $23,075, xxx0053 (Unit
                     #1668E) - Value: $33,750, xxx0054 (Unit
                     #1669E) - Value: $28,300, xxx0055 (Unit
                     #1670E) - Value: $29,900, & *xxx0016
                     (Unit 1631E) - Value $26,825                                           $0.00                            $255,850.00


           47.9.     (Peoples 4) 8-2016 Volvo 780 Trucks,
                     Vins #xxx4496 (Unit #762) - Value:
                     $55,580, xxx4497 (Unit #763) - Value:
                     $63,875, xxx4009 (Unit #764) - Value:
                     $49,100, xxx4010 (Unit #765) - Value:
                     $57,300, xxx4011 (Unit #766) - Value:
                     $53,625, xxx4012 (Unit #767) - Value:
                     $57,075, xxx4013 (Unit #768) - Value:
                     $58,725, xxx4014 (Unit #769) - Value:
                     $53,800                                                                $0.00                            $449,080.00


           47.10
           .     (Chase) See attached                                                       $0.00                           $1,942,045.00


           47.11 (PNC 5) 7-2014 Great Dane Refrigerated
           .     Vans, Vins #xxx0193 (Unit #1510E) -
                     Value: $14,050, xxx0198 (Unit #1515E) -
                     Value: $12,625, xxx0199 (Unit #1516E) -
                     Value: $16,400, xxx0200 (Unit 1517E) -
                     Value: $13,400, xxx0201 (Unit 1518E) -
                     Value: $19,300, xxx0202 (Unit 1519E) -
                     Value: $14,000, xxx0203 (Unit 1520E) -
                     Value: $10,350                                                         $0.00                            $100,125.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 5
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 Debtor         Time Definite Services, Inc.                                                 Case number (If known)
                Name

           47.12 (Webster 10) 10-2017 Volvo 780 Trucks,
           .     Vins #xxx6501 (Unit #792) - Value:
                     $80,475, xxx6492 (Unit #793) - Value:
                     85,450, xxx6493 (Unit #794) - Value:
                     $70,425, xxx6494 (Unit #795) - Value:
                     $63,175, xxx6495 (Unit #796) - Value:
                     $73,375, xxx6496 (Unit #797) - Value:
                     $69,775, xxx6497 (Unit #798) - Value:
                     $74,950, xxx6498 (Unit #799) - Value:
                     $61,675, 6499 (Unit #800) - Value:
                     $71,000, & xxx6500 (Unit #801) - Value:
                     $70,975                                                                $0.00                            $721,275.00


           47.13 (Webster 4) 9-2013 Great Dane
           .     Refrigerated Vans, Vins #xxx0034 (Unit
                     #1490E) - Value: $12,800, xxx0048 (Unit
                     #1492E) - Value: $15,550, xxx0087 (Unit
                     #1493E) - Value: $8,725, xxx0234 (Unit
                     #1494E) - Value: $13,050, xxx0306 (Unit
                     #1496E) - Value: $13,500, xxx0307 (Unit
                     #1497E) - Value: $13,000, xxx0308 (Unit
                     #1498E) - Value: $12,500, xxx0309 (Unit
                     #1499E) - Value: $16,875, xxx0310 (Unit
                     #1500E) - Value: $14,025                                               $0.00                            $120,025.00


           47.14 (Webster 7) 2-2015 Volvo 780 Volvo
           .     Trucks, Vins #xxx0688 (Unit #708) -
                     Value: 35,075, #xxx0690 (Unit #710) -
                     Value: $34,325 - PARKED                                                $0.00                              $69,400.00


           47.15 (Webster 5) 9-2015 [2014] Great Dane
           .     Refrigerated Vans, Vins #xxxx2009 (Unit
                     #1552E) - Value: $21,975, xxx2012 (Unit
                     #1555E) - Value: $18,500, xxx2013 (Unit
                     #1556E) - Value: $16,500, xxx2015 (Unit
                     #1558E) - Value: $16,800, xxx2016 (Unit
                     #1559E) - Value: $15,300, xxx2018 (Unit
                     #1561E) - Value: $15,525, xxx2019 (Unit
                     #1562E) - Value: $10,350, xxx2021 (Unit
                     #1564E) - Value: $17,650, xxx2022 (Unit
                     #1565E) - Value: $20,675                                               $0.00                            $153,275.00


           47.16 (Webster 6) 10-2015 Great Dane
           .     Refrigerated Vans, Vins #xxx0001 (Unit
                     #1566E) - Value: $15,000, xxx0002 (Unit
                     #1567E) - Value: $17,500, xxx0003 (Unit
                     #1568E) - Value: $15,275, xxx0005 (Unit
                     #1570E) - Value: $16,725, xxx0006 (Unit
                     #1571E) - Value: $16,500, xxx0007 (Unit
                     #1572E) - Value: $16,100, xxx0010 (Unit
                     #1575E) - Value: $19,100, xxx0015 (Unit
                     #1580E) - Value: $16,100, xxx0017 (Unit
                     #1582E) - Value: $18,650, xxx0020 (Unit
                     #1585E) - Value: $17,975                                               $0.00                            $168,925.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 6
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 Debtor         Time Definite Services, Inc.                                                 Case number (If known)
                Name

           47.17 (Webster 8) 9-2016 Great Dane
           .     Refrigerated Vans, Vins #xxx0038 (Unit
                     #1653E) - Value: $25,575, xxx0039 (Unit
                     #1654E) - Value: $36,200, xxx0040 (Unit
                     #1655E) - Value: $26,925, xxx0041 (Unit
                     #1656E) - Value: $27,475, xxx0043 (Unit
                     #1658E) - Value: $27,875, xxx0044 (Unit
                     #1659E) - Value: $20,975, xxx0045 (Unit
                     #1660E) - Value: $23,600, xxx0046 (Unit
                     #1661E) - Value: $22,125, xxx0047 (Unit
                     #1662E) - Value: $28,850                                               $0.00                            $239,600.00


           47.18 (Webster 9) 10-2016 Great Dane
           .     Refrigerated Vans, Vins #xxx0017 (Unit
                     #1632E) - Value: $29,050, xxx0018 (Unit
                     #1633E) - Value: $29,000, xxx0019 (Unit
                     #1634E) - Value: $29,125, xxx0020 (Unit
                     #1635E) - Value: $29,550, xxx0021 (Unit
                     #1636E) - Value: $30,425, xxx0022 (Unit
                     #1637E) - Value: $22,850, xxx0023 (Unit
                     #1638E) - Value: $27,925, xxx0024 (Unit
                     #1639E) - Value: $27,975, xxx0025 (Unit
                     #1640E) - Value: $27.050, xxx0026 (Unit
                     #1641E) - Value: $26,575                                               $0.00                            $279,525.00


           47.19 (Signature 2) 7-2015 Great Dane
           .     Refrigerated Vans, Vins #xxx1285 (Unit
                     #1616E) - Value: $20,575, xxx1295 (Unit
                     #1624E) - Value: $20,250, xxx1296 (Unit
                     #1625E) - Value: $21,750, xxx1298 (Unit
                     #1627E) - Value: $21,750, xxx1299 (Unit
                     #1628E) - Value: $21,925, xxx1300 (Unit
                     #1629E) - Value: $21,225, xxx1301 (Unit
                     #1630E) - Value: $19,450                                               $0.00                            $146,925.00


           47.20 (Signature 3) 2-2016 Kenworth Model
           .     T680 Trucks, Vins #xxx4370 (Unit #713) -
                     Value: $35,650, xxx4328 (Unit #712) -
                     Value: $41,900 - PARKED                                                $0.00                              $77,550.00


           47.21 (Signature 1) 11-2015 Great Dan
           .     -Refrigerated Vans, Vins #xxx1290 (Unit
                     #1611E) - Value: $18,775, xxx1282 (Unit
                     #1613E) - Value: $17,350, xxx1283 (Unit
                     #1614E) - Value: $19,850, xxx1284 (Unit
                     #1615E) - Value: $18,750, xxx1286 (Unit
                     #1617E) - Value: $21,550, xxx1287 (Unit
                     #1618E) - Value: $18,925, xxx1288 (Unit
                     #1619E) - Value: $20,125, xxx1289 (Unit
                     #1620E) - Value: $19,725, xxx1292 (Unit
                     #1621E) - Value: $19,500, xxx1293 (Unit
                     #1622E) - Value: $21,175, & *xxx1291
                     (Unit #1612E) - Value $20,575                                          $0.00                            $216,300.00


           47.22 (Volvo 4) 1-2014 Volvo VNL64T 780
           .     Truck, Vin #xxx3834 (Unit #696) - Value:
                     $23,625- PARKED                                                        $0.00                              $23,625.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 7
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 Debtor         Time Definite Services, Inc.                                                 Case number (If known)
                Name



            47.23 (Volvo 6) 8-2016 Volvo VNL64T 780
            .     Trucks, Vins #xxx9067 (Unit #748) -
                     Value: $45,550 [PARKED], xxx9068 (Unit
                     #747) - Value: $48,250, xxx4489 (Unit
                     #741) - Value: $52,250 [PARKED],
                     xxx4490 (Unit #745) - Value: $46,600,
                     xxx3999 (Unit #743) - Value: $64,125
                     [PARKED], xxx4001 (Unit #740) - Value:
                     $56,325, xxx4002 (Unit #744) - Value:
                     $53,450, xxx4003 (Unit #746) - Value:
                     $54,725                                                                $0.00                               $421,275.00


            47.24 2012 International Tractor, Vin #xxx4004
            .     (Not Running)                                                             $0.00                                   $6,000.00


            47.25 2003 Freightliner (Unit #301), Vin
            .     #xxx1901                                                                  $0.00                                   $7,000.00


            47.26 2016 Great Dane (Unit 1651E), Vin
            .     xxx0036                                                                   $0.00                                 $29,000.00


            47.27 2012 Great Dane (Unit 1427E), Vin
            .     xxx7155                                                                   $0.00                                 $10,125.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                $7,552,075.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 8
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 Debtor         Time Definite Services, Inc.                                                 Case number (If known)
                Name


        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Lawsuit against Ostrow Reisin Berk & Abrams, Etl.Al.
            (Illinois)                                                                                                               $1,400,000.00
            Nature of claim        E&O Claim
            Amount requested                          $0.00



            Lawsuit against Navistar, Inc., Et.Al. (Illinois)                                                                        $8,800,000.00
            Nature of claim        Breach of Contract
            Amount requested                                             $0.00



            Lawsuit against Atlantic Speciality (Illinois)                                                                              $57,000.00
            Nature of claim         Cargo Claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                    $10,257,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 9
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 Debtor          Time Definite Services, Inc.                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $50,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,933,706.99

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $24,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $82,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $7,552,075.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $10,257,000.00

 91. Total. Add lines 80 through 90 for each column                                                       $21,898,781.99             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $21,898,781.99




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 10
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 In re   Time Definite Services, Inc.                                             Case No.
                                                          Debtor(s)


                                           SCHEDULE A/B - PROPERTY
                                                 Attachment A

                                            2014 Great Dane Trailers, Vins #
xxx0204 (Unit #1521E) - Value: $18,450,
xxx0206 (Unit #1523E) - Value: $17,700,
xxx0207 (Unit #1524E) - Value: $14,425,
xxx0208 (Unit #1525E) - Value: $12,400,

                                            2014 Great Dane Trailers, Vins #
xxx2003 (Unit #1546E) - Value: $16,850,
xxx2004 (Unit #1547E) - Value: $10,350,
xxx2005 (Unit #1548E) - Value: $17,200,
xxx2006 (Unit #1549E) - Value: $15,275,
xxx2007 (Unit #1550E) - Value: $13,700,
xxx2008 (Unit #1551E) - Value: $15,375,
xxx2010 (Unit #1553E) - Value: $16,950,
xxx2011 (Unit #1554E) - Value: $15,675,
xxx2014 (Unit #1557E) - Value: $18,950,

                                            2015 Volvo 670 Tractors, Vins #
xxx6857 (Unit 698) - Value: 35,625,
xxx0701 (Unit #706) - Value: $24,000

                                          2016 Kenworth T680 Tractors, Vins #
xxx4655 (Unit L-732) - Value: $39,575,
xxx4656 (Unit 733) - Value: $46,850,
xxx4657 (Unit #734) - Value: $36,975,
xxx4658 (Unit 735) - Value: $50,825,
xxx4659 (Unit 736) - Value: $48,250,
xxx4660 (Unit L-737) - Value: $51,100,
xxx4661 (Unit 739) - Value: $36,450,
xxx4649 (Unit L-725) - Value: $36,625,
xxx4650 (Unit L-726) - Value: $36,500,
xxx4651 (Unit 728) - Value: $44,325,
xxx4653 (Unit 730) - Value: $45,400,
xxx4654 (Unit 731) - Value: $36,725

                                            2012 Great Dane Trailers, Vins #
xxx1360 (Unit #1369E) - Value: $10,075,
xxx1361 (Unit #1370E) - Value: $7,175,
xxx1363 (Unit #1372E) - Value: $10,000,
xxx1364 (Unit #1373E) - Value: $9,725,
xxx1365 (Unit #1374E) - Value: $9,425,
xxx1366 (Unit #1375E) - Value: $10,150,
xxx1367 (Unit #1376E) - Value: $7,575,
xxx1368 (Unit #1377E) - Value: $6,950,
xxx7107 (Unit #1379E) - Value: $11,875,
xxx7108 (Unit #1380E) - Value: $12,150,
xxx7109 (Unit #1381E) - Value: $10,300,
xxx7110 (Unit #1382E) - Value: $6,350,
xxx7111 (Unit #1383E) - Value: $6,350,
xxx7112 (Unit #1384E) - Value: $7,125,
xxx7113 (Unit #1385E) - Value: $6,350,
xxx7114 (Unit #1386E) - Value: $8,300,
xxx7115 (Unit #1387E) - Value: $6,350 ,
xxx7116 (Unit #1388E) - Value: $7,600,
xxx7117 (Unit #1389E) - Value: $6,575,
xxx7118 (Unit #1390E) - Value: $8,575,
xxx7120 (Unit #1392E) - Value: $6,350,
xxx7122 (Unit #1394E) - Value: $6,350,
xxx7123 (Unit #1395E) - Value: $11,075,
                      Case 8:19-bk-06564-MGW       Doc 1       Filed 07/12/19   Page 23 of 66


xxx7125 (Unit #1397E) - Value: $11,075,
xxx7126 (Unit #1398E) - Value: $8,375,
xxx7128 (Unit #1400E) - Value: $6,350,
xxx7129 (Unit #1401E) - Value: $9,875,
xxx7130 (Unit #1402E) - Value: $10,300,
xxx7131 (Unit #1403E) - Value: $8,575

                                          2014 Great Dane Trailers, Vins #
xxx4707 (Unit#1543E) - Value: $17,050,
xxx4708 (Unit#1544E) - Value: $15,125,
xxx4709 (Unit#1545E) - Value: $16,025

                                          2015 Great Dane Trailers, Vins #
xxx0004 (Unit 1569E) - Value: $18,625
xxx0008 (Unit 1573E) - Value: $20,625,
xxx0009 (Unit 1574E) - Value: $19,825,
xxx0011 (Unit 1576E) - Value: $17,975,
xxx0013 (Unit 1578E) - Value: $19,750,
xxx0014 (Unit 1579E) - Value: $18,350,
xxx0016 (Unit 1581E) - Value: $18,200,
xxx0018 (Unit 1583E) - Value: $18,125,
xxx0019 (Unit 1584E) - Value: $16,075,
xxx0742 (Unit 1595E) - Value: $20,475,
xxx0743 (Unit 1596E) - Value: $18,675,
xxx0744 (Unit 1597E) - Value: $16,075,
xxx0751 (Unit 1604E) - Value: $22,475,
xxx0754 (Unit 1607E) - Value: $15,550,
xxx0917 (Unit 1586E) - Value: $15,800,
xxx0918 (Unit 1587E) - Value: $18,775,
xxx0919 (Unit 1588E) - Value: $16,375,
xxx0922 (Unit 1591E) - Value: $18,075,
xxx0745 (Unit 1598E) - Value: $18,625,
xxx0746 (Unit 1599E) - Value: $18,350,
xxx0747 (Unit 1600E) - Value: $17,425,
xxx0748 (Unit 1601E) - Value: $18,575,
xxx0750 (Unit 1603E) - Value: $18,000,
xxx0752 (Unit 1605E) - Value: $21,375,
xxx0753 (Unit 1606E) - Value: $17,750,
xxx0755 (Unit 1608E) - Value: $19,475,
xxx0756 (Unit 1609E) - Value: $20,300,
xxx0915 (Unit 1593E) - Value: $19,400,
xxx0916 (Unit 1594E) - Value: $17,450,
xxx0920 (Unit 1589E) - Value: $16,250,
xxx0921 (Unit 1590E) - Value: $19,250,
xxx0923 (Unit 1592E) - Value: $25,025

                                          2014 Volvo 670 Tractors, Vins #
xxx4903 (Unit #677) - Value: 22,050

                                          2014 Great Dane Trailers, Vins #
xxx0210 (Unit #1527E) - Value: $12,650,
xxx0711 (Unit #1531E) - Value: $13,000,
xxx0712 (Unit #1532E) - Value: $13,875,
xxx0713 (Unit #1533E) - Value: $18,450,
xxx0714 (Unit #1534E) - Value: $17,500,
xxx0715 (Unit #1535E) - Value: $18,375,
xxx0709 (Unit #1537E) - Value: $17,350,
xxx0710 (Unit #1538E) - Value: $16,075,
xxx0736 (Unit #1539E) - Value: $14,925,
xxx0737 (Unit #1540E) - Value: $15,200,
xxx4705 (Unit #1541E) - Value: $17,225,
xxx4706 (Unit #1542E) - Value: $15,250
                       Case 8:19-bk-06564-MGW                     Doc 1        Filed 07/12/19   Page 24 of 66


                                                             2004 Freightliners, Vins #
xxx6886 (Unit #211) - Value: $8,800,
xxx6888 (Unit #212) - Value: $8,650

                                                             2007 Freightliners, Vins #
xxx7172 (Unit #526) - Value: $10,250,
xxx7204 (Unit #528) - Value: $11,975

                                                              2006 Stoughton, Vins #
xxx3681 (Unit #13681) - Value: $6,100,
xxx3682 (Unit #13682) - Value: $6,100

1-2005 Stoughton, Vin #xxx7025 (Unit #27025) - Value: $5,375

1-2007 Utility, Vin #xxx0205 (Unit #60205) - Value: $6,925

                                                                   Misc. $1,000
Fuel Optimization and Tractor Tracking Software
91-ReeferMate Gen2
3-MDT2000
2012 - 22 Vostro 270 Desktops
2010 - 10 Vostro 230 Slip Tower Desktops
2011 - 8 Qualssil Computers
38-MDT5000 (external modem)
95-MDT5700 (Server)
                               Case 8:19-bk-06564-MGW                              Doc 1         Filed 07/12/19        Page 25 of 66

 Fill in this information to identify the case:

 Debtor name         Time Definite Services, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   BMO Harris Bank, NA                            Describe debtor's property that is subject to a lien                 $365,907.21               $255,850.00
       Creditor's Name                                (GE 7 - BMO) 9-2016 Great Dane Refrigerated
                                                      Vans, Vins #0048 (Unit #1663E) - Value:
                                                      $28,625, xxx0049 (Unit #1664E) - Value:
                                                      $27,150, xxx0050 (Unit #1665E) - Value:
       300 E John Carpenter                           $28,550, xxx0051 (Unit #1666E) - Value:
       Freeway                                        $29,675, xxx0052 (Unit #1667E) - Val
       Irving, TX 75062-2712
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7002
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   JPMorgan Chase Bank, NA                        Describe debtor's property that is subject to a lien               $2,751,220.00             $1,942,045.00
       Creditor's Name                                (Chase) See attached
       55 S. Main Street
       Naperville, IL 60540-5314
       Creditor's mailing address                     Describe the lien
                                                      Credit Agreement ********** Capitalized
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 11
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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   JPMorgan Chase Bank, NA                        Describe debtor's property that is subject to a lien                 $4,400,000.00     $3,592,931.00
       Creditor's Name                                90 days or less: Accounts Receivables (Less
                                                      than 90 days)
       55 S. Main Street
       Naperville, IL 60540-5314
       Creditor's mailing address                     Describe the lien
                                                      Line of Credit
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Peoples Capital & Leasing                      Describe debtor's property that is subject to a lien                     $298,790.00    $399,725.00
       Creditor's Name                                (Peoples 6) 7-2016 Volvo 780 Trucks, Vins:
                                                      xxx4493 (Unit #774) - Value: $55,575, xxx4494
                                                      (Unit #775) - Value: $48,300, xxx4495 (Unit
                                                      #776) - Value: $64,675, xxx4498 (Unit #L-777) -
       Corp.                                          Value: $53,050, xxx4022 (Unit #779) - Value:
       850 Main Street, BC-03                         $60,275, xxx46
       Bridgeport, CT 06604
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Peoples Capital & Leasing                      Describe debtor's property that is subject to a lien                     $135,603.00    $148,650.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 11
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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

       Creditor's Name                                (Peoples 2) 11-2013 Great Dane Refrigerated
                                                      Vans, Vins #xxx1005 (Unit #1438E) - Value:
                                                      $11,775, xxx1006 (Unit #1439E) - Value:
                                                      $8,750, xxx1008 (Unit #1441E) - Value:
       Corp.                                          $11,950, xxx1010 (Unit #1443E) - Value:
       850 Main Street, BC-03                         $15,375, xxx1011 (Unit #1444E) - V
       Bridgeport, CT 06604
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1002
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Peoples Capital & Leasing                      Describe debtor's property that is subject to a lien                     $393,322.00   $271,050.00
       Creditor's Name                                (Peoples 3) 5-2016 Volvo 780 Trucks, Vins
                                                      #xxx4008 (Unit #757) - Value: $50,750,
                                                      xxx4015 (Unit #758) - Value: $50,375, xxx4016
                                                      (Unit #759) - Value: $54,150, xxx4017 (Unit
       Corp.                                          #760) - Value: $62,700, xxx4018 (Unit #761) -
       850 Main Street, BC-03                         Value: $53,075
       Bridgeport, CT 06604
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1003
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Peoples Capital & Leasing                      Describe debtor's property that is subject to a lien                     $188,036.77   $236,675.00
       Creditor's Name                                (Peoples 5) 4-2016 Volvo 780 Trucks, Vins
                                                      #xxx4019 (Unit #770) - Value: $55,325,
                                                      xxx4020 (Unit #771) - Value: $60,300, xxx4021
       Corp.                                          (Unit #772) - Value: $59,925, xxx4491 (Unit
       850 Main Street, BC-03                         #773) - Value: $61,125
       Bridgeport, CT 06604
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 11
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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1005
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Peoples Capital & Leasing                      Describe debtor's property that is subject to a lien                     $597,348.00   $449,080.00
       Creditor's Name                                (Peoples 4) 8-2016 Volvo 780 Trucks, Vins
                                                      #xxx4496 (Unit #762) - Value: $55,580,
                                                      xxx4497 (Unit #763) - Value: $63,875, xxx4009
                                                      (Unit #764) - Value: $49,100, xxx4010 (Unit
       Corp.                                          #765) - Value: $57,300, xxx4011 (Unit #766) -
       850 Main Street, BC-03                         Value: $53,625, xxx4012
       Bridgeport, CT 06604
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1004
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       PNC Equpment Finance,
 2.9                                                  Describe debtor's property that is subject to a lien                      $47,237.00   $100,125.00
       LLC
       Creditor's Name                                (PNC 5) 7-2014 Great Dane Refrigerated Vans,
                                                      Vins #xxx0193 (Unit #1510E) - Value: $14,050,
                                                      xxx0198 (Unit #1515E) - Value: $12,625,
                                                      xxx0199 (Unit #1516E) - Value: $16,400,
                                                      xxx0200 (Unit 1517E) - Value: $13,400,
       995 Dalton Ave.                                xxx0201 (Unit 1518E) - Value:
       Cincinnati, OH 45203
       Creditor's mailing address                     Describe the lien
                                                      Master Equipment Lease
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 4 of 11
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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     Signature Financial, LLC                       Describe debtor's property that is subject to a lien                      $70,396.50   $146,925.00
       Creditor's Name                                (Signature 2) 7-2015 Great Dane Refrigerated
                                                      Vans, Vins #xxx1285 (Unit #1616E) - Value:
                                                      $20,575, xxx1295 (Unit #1624E) - Value:
                                                      $20,250, xxx1296 (Unit #1625E) - Value:
       225 Broadhollow Rd,                            $21,750, xxx1298 (Unit #1627E) - Value:
       Ste.132W                                       $21,750, xxx1299 (Unit #1628E) -
       Melville, NY 11747
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1002
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 1     Signature Financial, LLC                       Describe debtor's property that is subject to a lien                      $76,877.88    $77,550.00
       Creditor's Name                                (Signature 3) 2-2016 Kenworth Model T680
                                                      Trucks, Vins #xxx4370 (Unit #713) - Value:
       225 Broadhollow Rd,                            $35,650, xxx4328 (Unit #712) - Value: $41,900 -
       Ste.132W                                       PARKED
       Melville, NY 11747
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1003
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 2     Signature Financial, LLC                       Describe debtor's property that is subject to a lien                     $118,087.73   $216,300.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 5 of 11
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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

       Creditor's Name                                (Signature 1) 11-2015 Great Dan -Refrigerated
                                                      Vans, Vins #xxx1290 (Unit #1611E) - Value:
                                                      $18,775, xxx1282 (Unit #1613E) - Value:
                                                      $17,350, xxx1283 (Unit #1614E) - Value:
       225 Broadhollow Rd,                            $19,850, xxx1284 (Unit #1615E) - Value:
       Ste.132W                                       $18,750, xxx1286 (Unit #1617E)
       Melville, NY 11747
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   US Bank Equipment
 3     Finance                                        Describe debtor's property that is subject to a lien                      $80,000.00    $50,000.00
       Creditor's Name                                McCleod Software
       1310 Madrid Street
       Marshall, MN 56258
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Volvo Financial Services
 4     US                                             Describe debtor's property that is subject to a lien                     $379,620.00   $271,575.00
       Creditor's Name                                (Volvo 7) 5-2016 Volvo VNL64T 780 Trucks,
                                                      Vin #xxx9065 (Unit #749) - Value: $56,550,
                                                      xxx9066 (Unit #750) - Value: $51,175
       LLC                                            -PARKED, xxx4005 (Unit #753) - Value:
       PO Box 26131                                   $49,950 - PARKED, xxx4007 (Unit #755) -
       Greensboro, NC                                 Value: $58,550, xxx4492 (Unit #756) - Va
       27402-6131
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No


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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1007
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Volvo Financial Services
 5     US                                             Describe debtor's property that is subject to a lien                       $2,693.03    $23,625.00
       Creditor's Name                                (Volvo 4) 1-2014 Volvo VNL64T 780 Truck, Vin
       LLC                                            #xxx3834 (Unit #696) - Value: $23,625-
       PO Box 26131                                   PARKED
       Greensboro, NC
       27402-6131
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1004
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Volvo Financial Services
 6     US                                             Describe debtor's property that is subject to a lien                     $452,934.80   $421,275.00
       Creditor's Name                                (Volvo 6) 8-2016 Volvo VNL64T 780 Trucks,
                                                      Vins #xxx9067 (Unit #748) - Value: $45,550
                                                      [PARKED], xxx9068 (Unit #747) - Value:
       LLC                                            $48,250, xxx4489 (Unit #741) - Value: $52,250
       PO Box 26131                                   [PARKED], xxx4490 (Unit #745) - Value:
       Greensboro, NC                                 $46,600, xxx3999 (Unit #743) -
       27402-6131
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1006
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 7     Webster Capital Finance                        Describe debtor's property that is subject to a lien                     $157,410.00   $120,025.00
       Creditor's Name                                (Webster 4) 9-2013 Great Dane Refrigerated
                                                      Vans, Vins #xxx0034 (Unit #1490E) - Value:
                                                      $12,800, xxx0048 (Unit #1492E) - Value:
                                                      $15,550, xxx0087 (Unit #1493E) - Value:
                                                      $8,725, xxx0234 (Unit #1494E) - Value:
       3 Farm Glen Blvd.                              $13,050, xxx0306 (Unit #1496E) - Va
       Farmington, CT 06032
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1702
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 8     Webster Capital Finance                        Describe debtor's property that is subject to a lien                      $63,747.00    $69,400.00
       Creditor's Name                                (Webster 7) 2-2015 Volvo 780 Volvo Trucks,
                                                      Vins #xxx0688 (Unit #708) - Value: 35,075,
                                                      #xxx0690 (Unit #710) - Value: $34,325 -
       3 Farm Glen Blvd.                              PARKED
       Farmington, CT 06032
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3885
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 9     Webster Capital Finance                        Describe debtor's property that is subject to a lien                     $171,719.00   $153,275.00




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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

       Creditor's Name                                (Webster 5) 9-2015 [2014] Great Dane
                                                      Refrigerated Vans, Vins #xxxx2009 (Unit
                                                      #1552E) - Value: $21,975, xxx2012 (Unit
                                                      #1555E) - Value: $18,500, xxx2013 (Unit
                                                      #1556E) - Value: $16,500, xxx2015 (Unit
       3 Farm Glen Blvd.                              #1558E) - Value: $16,800, xxx2016 (Unit #1
       Farmington, CT 06032
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8003
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 0     Webster Capital Finance                        Describe debtor's property that is subject to a lien                     $206,913.00   $168,925.00
       Creditor's Name                                (Webster 6) 10-2015 Great Dane Refrigerated
                                                      Vans, Vins #xxx0001 (Unit #1566E) - Value:
                                                      $15,000, xxx0002 (Unit #1567E) - Value:
                                                      $17,500, xxx0003 (Unit #1568E) - Value:
                                                      $15,275, xxx0005 (Unit #1570E) - Value:
       3 Farm Glen Blvd.                              $16,725, xxx0006 (Unit #1571E) -
       Farmington, CT 06032
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3894
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 1     Webster Capital Finance                        Describe debtor's property that is subject to a lien                     $182,389.00   $239,600.00
       Creditor's Name                                (Webster 8) 9-2016 Great Dane Refrigerated
                                                      Vans, Vins #xxx0038 (Unit #1653E) - Value:
                                                      $25,575, xxx0039 (Unit #1654E) - Value:
                                                      $36,200, xxx0040 (Unit #1655E) - Value:
                                                      $26,925, xxx0041 (Unit #1656E) - Value:
       3 Farm Glen Blvd.                              $27,475, xxx0043 (Unit #1658E) - V
       Farmington, CT 06032
       Creditor's mailing address                     Describe the lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 9 of 11
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 Debtor       Time Definite Services, Inc.                                                             Case number (if know)
              Name

                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3896
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 2     Webster Capital Finance                        Describe debtor's property that is subject to a lien                     $268,125.00   $279,525.00
       Creditor's Name                                (Webster 9) 10-2016 Great Dane Refrigerated
                                                      Vans, Vins #xxx0017 (Unit #1632E) - Value:
                                                      $29,050, xxx0018 (Unit #1633E) - Value:
                                                      $29,000, xxx0019 (Unit #1634E) - Value:
                                                      $29,125, xxx0020 (Unit #1635E) - Value:
       3 Farm Glen Blvd.                              $29,550, xxx0021 (Unit #1636E) -
       Farmington, CT 06032
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3897
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 3     Wells Fargo Equipment                          Describe debtor's property that is subject to a lien                      $79,414.00    $88,550.00
       Creditor's Name                                (WF - 1) 9 -2013 Great Dane Refrigerated
                                                      Vans, Vins #sxxx1027 (Unit #1460E) - Value:
                                                      $10,400, xxx1030 (Unit #1463E) - Value:
                                                      $9,100, xxx1031 (Unit #1464E) - Value:
       Finance, Inc.                                  $11,400, xxx1032 (Unit #1465E) - Value:
       PO Box 310704                                  $12,125, xxx1033 (Unit #1466E) - Val
       Des Moines, IA 50331-0704
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 10 of 11
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 Debtor       Time Definite Services, Inc.                                                            Case number (if know)
              Name

       1100
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                              $11,487,790.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       92

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        JPMorgan Chase Bank, NA
        111 Polaris Pkwy, Ste. A3                                                                            Line   2.2
        Columbus, OH 43240

        JPMorgan Chase Bank, NA
        Manager Wholesale Loan Ops                                                                           Line   2.2
        10 S. Dearborn, IL1-1145
        (Floor L2)
        Chicago, IL 60603-2300

        PNC
        2021 Springs Road, Ste 400                                                                           Line   2.9
        Oak Brook, IL 60523

        VFS Leasing Co.
        7025 Albert Pick Rd.                                                                                 Line   2.14
        Ste. 105 (27409
        PO Box 26131
        Greensboro, NC 27402-6131




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 11 of 11
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 Fill in this information to identify the case:

 Debtor name         Time Definite Services, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Department of Revenue                                     Check all that apply.
           PO Box 6668                                                  Contingent
           Tallahassee, FL 32314                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $15,000.00          $15,000.00
           Georgia Dept. of Revenue                                  Check all that apply.
           Compliance Division                                          Contingent
           ARCS - Bankruptcy                                            Unliquidated
           1800 Century Blvd NE,Ste9100                                 Disputed
           Atlanta, GA 30345-3202
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 10
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 Debtor       Time Definite Services, Inc.                                                                    Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $20,000.00    $20,000.00
          Illinois Dept. of Revenue                                  Check all that apply.
          Bankruptcy Unit                                               Contingent
          PO Box 19035                                                  Unliquidated
          Springfield, IL 62794-9035                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $7,500.00    $7,500.00
          Indiana Dept. of Revenue                                   Check all that apply.
          PO Box 7206                                                   Contingent
          Indianapolis, IN 46207-7206                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                   Contingent
          Philadelphia, PA 19101-7346                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $2,000.00    $2,000.00
          Nebraska Dept. of Revenue                                  Check all that apply.
          Attn: Bankruptcy                                              Contingent
          PO Box 94818                                                  Unliquidated
          Lincoln, NE 68509-4818                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 10
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 Debtor        Time Definite Services, Inc.                                                                   Case number (if known)
               Name

 2.7        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $1,000.00         $1,000.00
            New Jersey Dept. of Revenue                              Check all that apply.
            Bankruptcy Unit                                             Contingent
            50 Barrack St., 9th Floor                                   Unliquidated
            PO Box 245                                                  Disputed
            Trenton, NJ 08695-0245
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $5,000.00         $5,000.00
            Ohio Dept. of Revenue                                    Check all that apply.
            Bankruptcy Division                                         Contingent
            4485 Northland Ridge Blvd.                                  Unliquidated
            Columbus, OH 43229                                          Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                $0.00       $0.00
            Tennessee Dept. of Revenue                               Check all that apply.
            44 Vantage Way, Suite 160                                   Contingent
            Nashville, TN 37243-8050                                    Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $6,000.00         $0.00
            Texas Dept. of Revenue                                   Check all that apply.
            Comptroller of Public Accts                                 Contingent
            111 E. 17th Street                                          Unliquidated
            Austin, TX 78774                                            Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 10
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 Debtor       Time Definite Services, Inc.                                                            Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $300,000.00
          American Express                                                      Contingent
          c/o Becket and Lee LLP                                                Unliquidated
          PO Box 3001
                                                                                Disputed
          Malvern, PA 19355
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Atlantic Specialty Insurance                                          Contingent
          Co., c/o Catri, Holton, EtAl                                          Unliquidated
          633 S. Andrews Ave., 3rd Flr
                                                                                Disputed
          Fort Lauderdale, FL 33301
          Date(s) debt was incurred
                                                                             Basis for the claim:    Audit
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,246.93
          BGE                                                                   Contingent
          PO Box 1475                                                           Unliquidated
          Baltimore, MD 21203
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Claim
          Last 4 digits of account number       1886
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $587,580.43
          BMO Harris Bank, NA                                                   Contingent
          300 E John Carpenter Freeway                                          Unliquidated
          Irving, TX 75062-2712                                                 Disputed
          Date(s) debt was incurred
                                                                                              (BMO 1) 5-2017 Freightlinger Trucks, Vins #xxx4933
                                                                             Basis for the claim:
          Last 4 digits of account number       3001                         (Unit #1000) - Value: $64,675, xxx4934 (Unit #1001) - Value: $55,925,
                                                                             xxx4936 (Unit #1002) - Value: $64,150, xxx4937(Unit #1003) - Value:
                                                                             $56,550, xxx4939 (Unit #1004) - Value: $63,250
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $578,979.22
          BMO Harris Bank, NA                                                   Contingent
          300 E John Carpenter                                                  Unliquidated
          Freeway                                                               Disputed
          Irving, TX 75062-2712
                                                                                            (BMO 2) 4-2017 Freightliner Trucks, Vins
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             #xxx4941(Unit #1008) - Value: $53,400, xxx4942 (Unit #1009) - Value:
          Last 4 digits of account number       3002                         $59,050, xxx4922 (Unit #400) - Value: $60,950, xxx4923 (Unit #401) -
                                                                             Value: $58,225
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $578,776.30
          BMO Harris Bank, NA                                                   Contingent
          300 E John Carpenter Freeway                                          Unliquidated
          Irving, TX 75062-2712                                                 Disputed
          Date(s) debt was incurred
                                                                                              (BMO 3) 5-2017 Freightliner Trucks, Vins #xxx4932
                                                                             Basis for the claim:
          Last 4 digits of account number       3003                         (Unit #1005) - Value: $63,250, xxx4943 (Unit #1006) - Value: $59,825,
                                                                             xxx4944 (Unit #1010) - Value: $60,950, xxx4924 (Unit #402) - Stolen,
                                                                             xxx4925 (Unit #403) - Value: $54,475
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Time Definite Services, Inc.                                                            Case number (if known)
              Name

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $591,653.03
          BMO Harris Bank, NA                                                   Contingent
          300 E John Carpenter Freeway                                          Unliquidated
          Irving, TX 75062-2712                                                 Disputed
          Date(s) debt was incurred
                                                                                              (BMO 4) 5-2017 Freightliner Trucks, Vins #xxx4945
                                                                             Basis for the claim:
          Last 4 digits of account number       3004                         (Unit #1011) - Value: $61,550, xxx4946 (Unit #1012) - Value: $61,525,
                                                                             xxx4847 (Unit #1013) - Value: $60,275, xxx4926 (Unit #404) - Value:
                                                                             $60,825, xxx4927 (Unit #405) - Value: $60,725
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $477,342.94
          BMO Harris Bank, NA                                                   Contingent
          300 E John Carpenter Freeway                                          Unliquidated
          Irving, TX 75062-2712                                                 Disputed
          Date(s) debt was incurred
                                                                                              (BMO 5) 4-2017 Freightliner Trucks, Vins #xxx4938
                                                                             Basis for the claim:
          Last 4 digits of account number       3005                         (Unit #1014) - Value: $60,300, xxx4948 (Unit #1015) - Value: $53,400,
                                                                             xxx4935 (Unit #1016) - Value: $64,525, xxx4928 (Unit #406) - Value:
                                                                             $53,275
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $237,153.83
          BMO Harris Bank, NA                                                   Contingent
          300 E John Carpenter Freeway                                          Unliquidated
          Irving, TX 75062-2712                                                 Disputed
          Date(s) debt was incurred
                                                                                              (BMO 6) 1-2017 Freightliner Truck, Vin #xxx4930 (Unit
                                                                             Basis for the claim:
          Last 4 digits of account number       3006                         #408) - Value: $53,600
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $477,156.87
          BMO Harris Bank, NA                                                   Contingent
          300 E John Carpenter Freeway                                          Unliquidated
          Irving, TX 75062-2712                                                 Disputed
          Date(s) debt was incurred
                                                                                             (BMO 7) 10-2017 Great Dane Refrigerated Vans: Vins
                                                                             Basis for the claim:
          Last 4 digits of account number       3008                         #xxx9186 (Unit #2000) - Value: $39,375, xxx9195 (Unit #2009) - Value:
                                                                             $39,825, xxx9187 (Unit #2001) - Value: $39,325, xxx9190 (Unit #2004) -
                                                                             Value: $37,550, xxx9188 (Unit #2002) - Value: $3
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99.00
          Incorp                                                                Contingent
          3773 Howard Hughes Pkwy                                               Unliquidated
          Suite 500S                                                            Disputed
          Las Vegas, NV 89169-6014
                                                                             Basis for the claim:    R.A. Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,349.16
          JLL / BLP Industrial                                                  Contingent
          c/o BPREP Randall Point LLC                                           Unliquidated
          8755 W. Higgins Rd., Ste.700                                          Disputed
          Chicago, IL 60631
                                                                             Basis for the claim:    Lease Arrearages - Space at Randall Point Business
          Date(s) debt was incurred
                                                                             Park
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Time Definite Services, Inc.                                                            Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          MAC Trailer Leasing, dba                                              Contingent
          PLM Trailer Leasing                                                   Unliquidated
          14095 Collections Center Dr.
                                                                                Disputed
          Chicago, IL 60693
          Date(s) debt was incurred
                                                                                             Leased Trailers: (MAC) 5-2017 Great Dane - Vins
                                                                             Basis for the claim:
                                                                             #xxx1000 (Unit #1711), xxx1001 (Unit #1712), xxx1002 (Unit #1713),
          Last 4 digits of account number                                    xxx1005 (Unit #1714), & xxx1007 (Unit #1715)
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $186,000.00
          Matthew D. Brash                                                      Contingent
          c/o Levenfeld Pearl SteinLLC                                          Unliquidated
          2 N LaSalle St., Ste. 1300
                                                                                Disputed
          Chicago, IL 60602
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lawsuit
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $250,000.00
          Michael Suarez                                                        Contingent
          794 Lake Brim Dr.                                                     Unliquidated
          Winter Garden, FL 34787                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note for monies loaned
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $580,000.00
          Navistar, Inc, fka Internt'l
          Truck & Engine Corporation                                            Contingent
          c/o Sanchez Daniels, Et.Al.                                           Unliquidated
          333 W Wacker Dr., Ste.500                                             Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    CounterClaim (Case #14-MR-1475)
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ostrow Reisin Berk
          & Abrams, Ltd., Et.Al.                                                Contingent
          c/o Hinshaw & Culbertson, LL                                          Unliquidated
          151 N Franklin, Ste. 2500                                             Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Lawsuit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          PLM Leasing                                                           Contingent
          14095 Collections Center Dr.                                          Unliquidated
          Chicago, IL 60693
                                                                                Disputed
          Date(s) debt was incurred
                                                                                            (PLM) 10-2017 Great Dane: Vins #xxx0748 (Unit
                                                                             Basis for the claim:
          Last 4 digits of account number                                    #1701), xxx0749 (Unit #1702), xxx0750 (Unit #1703), xxx0751 (Unit
                                                                             #1704), xxx0752 (Unit #1705), xxx0488 (Unit #1706),xxx0489 (Unit
                                                                             #1707), xxx0490 (Unit #1708), xxx0491 (Unit #1709), & xxx0492
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Time Definite Services, Inc.                                                            Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          PLM Leasing                                                           Contingent
          14095 Collections Center Dr.                                          Unliquidated
          Chicago, IL 60693
                                                                                Disputed
          Date(s) debt was incurred
                                                                                            (PLM) 5-2018 Great Danes - Vins #xxx1003 (Unit
                                                                             Basis for the claim:
          Last 4 digits of account number                                    #1716), xxx1004 (Unit #1717), xxx1006 (Unit #1718), xxx1008 (Unit
                                                                             #1719), & xxx1009 (Unit #1720)
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,584.00
          Safe Trucking Insurance, Ltd                                          Contingent
          c/o Cottingham & Butler                                               Unliquidated
          PO Box 449
                                                                                Disputed
          Dubuque, IA 52004-0449
          Date(s) debt was incurred
                                                                             Basis for the claim:    Assessments
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $428,035.88
          Signature Financial, LLC                                              Contingent
          225 Broadhollow Rd, Ste.132W                                          Unliquidated
          Melville, NY 11747                                                    Disputed
          Date(s) debt was incurred
                                                                                              (Signature 6) 10-2017 Great Dane Refrigerated Vans,
                                                                             Basis for the claim:
          Last 4 digits of account number       0003                         Vins #xxx0269 (Unit #1681) - Value: $37,325, xxx0270 (Unit #1682) -
                                                                             Value: $29,900, xxx0271 (Unit #1683) - Value: $37,000, xxx0272 (Unit
                                                                             #1684) - Value: $37,950, xxx0273 (Unit #1685) - Val
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $538,052.32
          Signature Financial, LLC                                              Contingent
          225 Broadhollow Rd, Ste.132W                                          Unliquidated
          Melville, NY 11747                                                    Disputed
          Date(s) debt was incurred
                                                                                              (Signature 7) 10-2017 Great Dane Refrigerated Vans,
                                                                             Basis for the claim:
          Last 4 digits of account number       0004                         Vins #xxx0284 (Unit #1691) - Value: $39,700, xxx0325 (Unit #1692) -
                                                                             Value: $38,255, xxx0740 (Unit #1693) - Value: $40,450, xxx0741 (Unit
                                                                             #1694) - Value: $42,575, xxx0742 (Unit #1695) - Val
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $365,280.58
          Signature Financial, LLC                                              Contingent
          225 Broadhollow Rd, Ste.132W                                          Unliquidated
          Melville, NY 11747                                                    Disputed
          Date(s) debt was incurred
                                                                                             (Signature 4) 9-2016 Great Dane Refrigerated Vans,
                                                                             Basis for the claim:
          Last 4 digits of account number       0001                         Vins #xxx0027 (Unit #1642E) - Value: $28,700, xxx0028 (Unit #1643E) -
                                                                             Value: $30,275, xxx0029 (Unit #1644E) - Value: $26,400, xxx0031 (Unit
                                                                             #1646E) - Value: $24,700, xxx0032 (Unit #1647E) -
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $439,199.99
          Signature Financial, LLC                                              Contingent
          225 Broadhollow Rd, Ste.132W                                          Unliquidated
          Melville, NY 11747                                                    Disputed
          Date(s) debt was incurred
                                                                                              (Signature 5) 9-2017 Great Dane Refrigerated Vans,
                                                                             Basis for the claim:
          Last 4 digits of account number       0002                         Vins #xxx1021 (Unit #1671) - Value: $37,000, xxx1022 (Unit #1672) -
                                                                             Value: $38,525, xxx1023 (Unit #1673) - Value: $42,500, xxx1024 (Unit
                                                                             #1674) - Value: $36,350, xxx1025 (Unit #1675) - Valu
                                                                             Is the claim subject to offset?     No       Yes


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 Debtor       Time Definite Services, Inc.                                                            Case number (if known)
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $915,515.00
          Sumitomo Mitsui Finance                                               Contingent
          and Leasing Co., Ltd                                                  Unliquidated
          277 Park Ave., 15th Floor                                             Disputed
          New York, NY 10172
                                                                                              (Sumitomo) 10-2017 Volvo 780 Trucks, Vins #xxx6502
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             (Unit #802) - Value: $69,050, xxx6503 (Unit #803) - Value: $64,700,
          Last 4 digits of account number       2001                         xxx6504 (Unit #804) - Value: $74,600, xxx6505 (Unit #805) - Value:
                                                                             $68,025, xxx6506 (Unit #806) - Value: $68,125, xxx6507
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $189,955.00
          Transportation Insurance                                              Contingent
          Advisors (Markel)                                                     Unliquidated
          113 Bellagio Circle
                                                                                Disputed
          Sanford, FL 32771
          Date(s) debt was incurred
                                                                             Basis for the claim:    E#9 Profit Sharing Endorsement 10/1/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $494,694.00
          Volvo Financial Services US                                           Contingent
          LLC                                                                   Unliquidated
          PO Box 26131                                                          Disputed
          Greensboro, NC 27402-6131
                                                                                             (Volvo 8) 9-2016 Volvo VNL64T 780 Trucks: Vins
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             #xxx9060 (Unit #782) - Value: $52,125, xxx9061(Unit #783) - Value:
          Last 4 digits of account number       4001                         $55,575, xxx9062 (Unit #784) - Value: $67,375, xxx9063 (Unit #785) -
                                                                             Value: $57,350, xxx9070 (Unit #787) - Value: $55,150, xxx
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $655,955.00
          Volvo Financial Services US                                           Contingent
          LLC                                                                   Unliquidated
          PO Box 26131                                                          Disputed
          Greensboro, NC 27402-6131
                                                                                             (Volvo 9) 10-2016 Volvo VNL64T 780 Trucks, Vins
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             #xxx6513 (Unit #813) - Value: $78,975, xxx6516 (Unit #816) - Value:
          Last 4 digits of account number       4002                         $78,550, xxx6517 (Unit #817) - Value: $75,875, xxx6518 (Unit #818) -
                                                                             Value: $74,200, xxx6519 (Unit #819) - Value: $76,300, x
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $655,205.00
          Volvo Financial Services US                                           Contingent
          LLC                                                                   Unliquidated
          PO Box 26131                                                          Disputed
          Greensboro, NC 27402-6131
                                                                                             (Volvo 10) 7-2017 Volvo VNL64T 780 Trucks, Vins
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             #xxx6687 (Unit #825) - Value: $74,300, xxx6688 (Unit #826) - Value:
          Last 4 digits of account number       4003                         $69,000, xxx6689 (Unit #827) - Value: $74,150, xxx6691(Unit #829) -
                                                                             Value: $79,250, xxx6692 (Unit #830) - Value: $62,125, xx
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Time Definite Services, Inc.                                                            Case number (if known)
              Name

 3.30      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $964,072.00
           Webster Capital Finance                                              Contingent
           3 Farm Glen Blvd.                                                    Unliquidated
           Farmington, CT 06032                                                 Disputed
           Date(s) debt was incurred
                                                                                             (Webster 10) 10-2017 Volvo 780 Trucks, Vins
                                                                             Basis for the claim:
           Last 4 digits of account number      5591                         #xxx6501 (Unit #792) - Value: $80,475, xxx6492 (Unit #793) - Value:
                                                                             85,450, xxx6493 (Unit #794) - Value: $70,425, xxx6494 (Unit #795) -
                                                                             Value: $63,175, xxx6495 (Unit #796) - Value: $73,375, xxx649
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Attorney General - Ohio
           150 E. Gay St., 21st Floor                                                                 Line     2.8
           Columbus, OH 43215
                                                                                                             Not listed. Explain

 4.2       Georgia Dept. of Revenue
           Taxpayer Services Div.                                                                     Line     2.2
           PO Box 105499
                                                                                                             Not listed. Explain
           Atlanta, GA 30348-5499

 4.3       Lykes Cartage Co., LLC
           c/o Zimmerman, Kiser, EtAl                                                                 Line     3.2
           315 E. Robinson St., Ste.600
                                                                                                             Not listed. Explain
           Orlando, FL 32801

 4.4       Ofc of the Attorney General
           PO Box 12548                                                                               Line     2.10
           Austin, TX 78711-2548
                                                                                                             Not listed. Explain

 4.5       Randall Point Business Cntr
           c/o Pancor Management LLC                                                                  Line     3.12
           2175 Point Blvd., Ste. 125
                                                                                                             Not listed. Explain
           Elgin, IL 60123

 4.6       Signature Financia LLC
           10345 Willows Rd. NE                                                                       Line     3.21
           Ste. 120
                                                                                                             Not listed. Explain
           Redmond, WA 98052

 4.7       Webster Capital Finance
           344 Main St.                                                                               Line     3.30
           Berlin, CT 06037
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                     56,500.00
 5b. Total claims from Part 2                                                                            5b.    +     $                 11,010,886.48

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                    11,067,386.48


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              Name




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 Fill in this information to identify the case:

 Debtor name         Time Definite Services, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Landlord - Space at
             lease is for and the nature of               Randall Point Business
             the debtor's interest                        Park(1360 Madeline
                                                          Lane, Ste. 300, Elgin, IL
                                                          60124)
                  State the term remaining                                            JLL / BLP Industrial
                                                                                      c/o BPREP Randall Point LLC
             List the contract number of any                                          8755 W. Higgins Rd., Ste.700
                   government contract                                                Chicago, IL 60631


 2.2.        State what the contract or                   Leased Trailers: (MAC)
             lease is for and the nature of               *5-2017 Great Dane -
             the debtor's interest                        Vins #xxx1000 (Unit
                                                          #1711), xxx1001 (Unit
                                                          #1712), xxx1002 (Unit
                                                          #1713), xxx1005 (Unit
                                                          #1714), & xxx1007 (Unit
                                                          #1715)
                  State the term remaining                                            MAC Trailer Leasing, dba
                                                                                      PLM Trailer Leasing
             List the contract number of any                                          14095 Collections Center Dr.
                   government contract                                                Chicago, IL 60693


 2.3.        State what the contract or                   Leased Trailers:
             lease is for and the nature of               (PLM) *10-2017 Great
             the debtor's interest                        Dane: Vins #xxx0748
                                                          (Unit #1701), xxx0749
                                                          (Unit #1702), xxx0750
                                                          (Unit #1703), xxx0751
                                                          (Unit #1704), xxx0752
                                                          (Unit #1705), xxx0488
                                                          (Unit #1706),xxx0489
                                                          (Unit #1707), xxx0490
                                                          (Unit #1708), xxx0491
                                                          (Unit #1709), & xxx0492
                                                          (Unit #1710)
                  State the term remaining
                                                                                      PLM Leasing
             List the contract number of any                                          14095 Collections Center Dr.
                   government contract                                                Chicago, IL 60693

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Time Definite Services, Inc.                                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease



 2.4.        State what the contract or                   Leased Trailers: (PLM)
             lease is for and the nature of               5-2018 Great Danes -
             the debtor's interest                        Vins #xxx1003 (Unit
                                                          #1716), xxx1004 (Unit
                                                          #1717), xxx1006 (Unit
                                                          #1718), xxx1008 (Unit
                                                          #1719), & xxx1009 (Unit
                                                          #1720)
                  State the term remaining
                                                                                         PLM Leasing
             List the contract number of any                                             14095 Collections Center Dr.
                   government contract                                                   Chicago, IL 60693


 2.5.        State what the contract or                   Landlord - 10.5 acres in
             lease is for and the nature of               Sumterville, Florida
             the debtor's interest                        (Operations
                                                          Headquarters)
                  State the term remaining
                                                                                         TDST, LLC
             List the contract number of any                                             1935 CR 525E
                   government contract                                                   Sumterville, FL 33585


 2.6.        State what the contract or                   Payroll Services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Time Specialized Brokerage
             List the contract number of any                                             1360 Madeline Lane
                   government contract                                                   Elgin, IL 60124




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Time Definite Services, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Michael Suarez                    600 W. Las Olas Blvd., #702                       JPMorgan Chase                     D   2.2
                                               Fort Lauderdale, FL 33312                         Bank, NA                           E/F
                                               Guarantor
                                                                                                                                    G




    2.2      Michael Suarez                    600 W. Las Olas Blvd., #702                       PNC Equpment                       D   2.9
                                               Fort Lauderdale, FL 33312                         Finance, LLC                       E/F
                                                                                                                                    G




    2.3      TDST, LLC                         1935 CR 525 E.                                    JPMorgan Chase                     D   2.2
                                               Sumterville, FL 33585                             Bank, NA                           E/F
                                                                                                                                    G




    2.4      Time Definite                     1360 Madeline Lane                                JPMorgan Chase                     D   2.2
             Leasing, LLC                      Suite 300                                         Bank, NA                           E/F
                                               Elgin, IL 60124
                                                                                                                                    G




    2.5      Time Definite                     1360 Madeline Lane                                BMO Harris Bank, NA                D
             Leasing, LLC                      Suite 300                                                                            E/F       3.4
                                               Elgin, IL 60124
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 4
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 Debtor       Time Definite Services, Inc.                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Time Definite                     1360 Madeline Lane                         BMO Harris Bank, NA               D
             Leasing, LLC                      Suite 300                                                                    E/F       3.5
                                               Elgin, IL 60124
                                                                                                                            G




    2.7      Time Definite                     1360 Madeline Lane                         BMO Harris Bank, NA               D
             Leasing, LLC                      Suite 300                                                                    E/F       3.6
                                               Elgin, IL 60124
                                                                                                                            G




    2.8      Time Definite                     1360 Madeline Lane                         BMO Harris Bank, NA               D
             Leasing, LLC                      Suite 300                                                                    E/F       3.7
                                               Elgin, IL 60124
                                                                                                                            G




    2.9      Time Definite                     1360 Madeline Lane                         BMO Harris Bank, NA               D
             Leasing, LLC                      Suite 300                                                                    E/F       3.8
                                               Elgin, IL 60124
                                                                                                                            G




    2.10     Time Definite                     1360 Madeline Lane                         BMO Harris Bank, NA               D
             Leasing, LLC                      Suite 300                                                                    E/F       3.9
                                               Elgin, IL 60124
                                                                                                                            G




    2.11     Time Definite                     1360 Madeline Lane                         BMO Harris Bank, NA               D
             Leasing, LLC                      Suite 300                                                                    E/F       3.10
                                               Elgin, IL 60124
                                                                                                                            G




    2.12     Time Definite                     1360 Madeline Lane                         Volvo Financial                   D
             Leasing, LLC                      Suite 300                                  Services US                       E/F       3.27
                                               Elgin, IL 60124
                                                                                                                            G




Official Form 206H                                                    Schedule H: Your Codebtors                                      Page 2 of 4
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 Debtor       Time Definite Services, Inc.                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.13     Time Definite                     1360 Madeline Lane                         Volvo Financial                   D
             Leasing, LLC                      Suite 300                                  Services US                       E/F       3.28
                                               Elgin, IL 60124
                                                                                                                            G




    2.14     Time Definite                     1360 Madeline Lane                         Volvo Financial                   D
             Leasing, LLC                      Suite 300                                  Services US                       E/F       3.29
                                               Elgin, IL 60124
                                                                                                                            G




    2.15     Time Definite                     1360 Madeline Lane                         Sumitomo Mitsui                   D
             Leasing, LLC                      Suite 300                                  Finance                           E/F       3.25
                                               Elgin, IL 60124
                                                                                                                            G




    2.16     Time Definite                     1360 Madeline Lane                         Signature Financial,              D
             Leasing, LLC                      Suite 300                                  LLC                               E/F       3.22
                                               Elgin, IL 60124
                                                                                                                            G




    2.17     Time Definite                     1360 Madeline Lane                         Signature Financial,              D
             Leasing, LLC                      Suite 300                                  LLC                               E/F       3.23
                                               Elgin, IL 60124
                                                                                                                            G




    2.18     Time Definite                     1360 Madeline Lane                         Signature Financial,              D
             Leasing, LLC                      Suite 300                                  LLC                               E/F       3.21
                                               Elgin, IL 60124
                                                                                                                            G




    2.19     Time Definite                     1360 Madeline Lane                         Signature Financial,              D
             Leasing, LLC                      Suite 300                                  LLC                               E/F       3.24
                                               Elgin, IL 60124
                                                                                                                            G




Official Form 206H                                                    Schedule H: Your Codebtors                                      Page 3 of 4
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 Debtor       Time Definite Services, Inc.                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.20     Time Definite                     1360 Madeline Lane                         Webster Capital                   D
             Leasing, LLC                      Suite 300                                  Finance                           E/F       3.30
                                               Elgin, IL 60124
                                                                                                                            G




    2.21     Time Definite                     Transportation, LLC                        JPMorgan Chase                    D   2.2
             Services                          1360 Madeline Lane                         Bank, NA                          E/F
                                               Suite 300
                                                                                                                            G
                                               Elgin, IL 60124




    2.22     Time Definite                     Transportation, LLC                        Safe Trucking                     D
             Services                          1360 Madeline Lane                         Insurance, Ltd                    E/F       3.20
                                               Suite 300
                                                                                                                            G
                                               Elgin, IL 60124




    2.23     Time Specialized                  Inc.                                       JPMorgan Chase                    D   2.2
             Brokerage,                                                                   Bank, NA                          E/F
                                                                                                                            G




Official Form 206H                                                    Schedule H: Your Codebtors                                      Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Time Definite Services, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                           $16,629,532.24
       From 1/01/2019 to Filing Date
                                                                                                   Other    Estimated YTD


       For prior year:                                                                             Operating a business                           $15,232,381.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $36,305,584.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                              Case 8:19-bk-06564-MGW                              Doc 1      Filed 07/12/19             Page 53 of 66
 Debtor       Time Definite Services, Inc.                                                              Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Time Definite Services, Inc.                      Civil - In the             DuPage County Courthouse                     Pending
               vs. Navisar, Inc., Et.Al. /                       Circuit Court of           505 N County Farm Rd                         On appeal
               Counterclaim by Navistar                          the 18th Judicial          Wheaton, IL 60187
                                                                                                                                         Concluded
               14-MR-1475                                        Circuit, Dupage
                                                                 County, Illinios

       7.2.    Time Definite Services, Inc.,                     Circuit Civil - 5th        Clerk of Court, Sumter                       Pending
               Et.Al., vs. Atlantic Specialty                    Judicial Circuit,          County                                       On appeal
               Insurance Company, Et.Al.                         Sumter County,             215 E McCollum Ave
                                                                                                                                         Concluded
               2017-CA-000314                                    Florida                    Bushnell, FL 33513

       7.3.    Time Definite Services, Inc.,                     Circuit Civil - 16th       Clerk of the Circuit Court                   Pending
               Et.Al. vs. Ostrow Reisin Berk                     Judicial Circuit,          Kane County, Illinois                        On appeal
               & Abrams, Ltd., Et.Al,                            Kane County,               540 Randall Rd, St
                                                                                                                                         Concluded
               18-L-000352                                       Illinois                   Saint Charles, IL 60174

       7.4.    Matthew D. Brash, EtAl. vs.                       Circuit Civil -            Cook County Law Division                     Pending
               Time Definite Services, Inc.                      Cook County,               50 W Washington St #801                      On appeal
               2018-C-006941                                     Illinois, County           Chicago, IL 60602
                                                                                                                                         Concluded
                                                                 Dept, Law
                                                                 Division


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        Time Definite Services, Inc.                                                                 Case number (if known)



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                    Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss     Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.                                                                                                                   06/07/2019 -
                                                                                                                               $25,000
                                                                                                                               06/10/2019 -
                 Buddy D. Ford, P.A.                                                                                           $25,000
                 9301 W. Hillsborough Avenue                                                                                   07/11/2019 -
                 Tampa, FL 33615-3008                                                                                          $10,000             $60,000.00

                 Email or website address
                 All@TampaEsq.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers       Total amount or
                                                                                                                         were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
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 Debtor      Time Definite Services, Inc.                                                               Case number (if known)




           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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 Debtor      Time Definite Services, Inc.                                                               Case number (if known)




          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

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 Debtor      Time Definite Services, Inc.                                                               Case number (if known)



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Time Definite Leasing,LLC                        Serves as a lease-to-own to the                  EIN:         XX-XXXXXXX
             1360 Madeline Lane, Suite                        independent contractors
             300                                              (participating drivers) for tractor              From-To      02/16/2016 to present
             Elgin, IL 60124                                  leasing & rental


    25.2.    Specialized Services                             The trucking authority resides                   EIN:         XX-XXXXXXX
             Logistics, LLC                                   here.
             f/k/a TD Logistics, LLC                                                                           From-To      03/03/2017 to present
             868 CR 539A
             Sumterville, FL 33585

    25.3.    Time Specialized Brokerage,                      They are a payroll entity only. All              EIN:
             Inc.                                             employees are hired by this entity.
             1360 Madeline Lane, Suite                                                                         From-To      03/12/2009 to present
             300
             Elgin, IL 60124

    25.4.    TDST, LLC                                        This entity owns the property in                 EIN:         XX-XXXXXXX
             1935 CR 525 East                                 Sumterville, Florida & lease it to
             Sumterville, FL 33585                            Time Definite                                    From-To      06/11/2012 to present

    25.5.    Time Definite Services                           Dissolved / Transferred Units to                 EIN:         XX-XXXXXXX
             Transportation,                                  Time Definite Services, Inc.
             LLC                                                                                               From-To      05/19/2019 to 12/23/2018
             1935 CR 525 E St.
             Sumterville, FL 33585


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Michael A. Suarez                                                                                                          12/04/1990
                    794 Lake Brim Dr.                                                                                                          (Incorporation) to
                    Winter Garden, FL 34787                                                                                                    present
       26a.2.       FGMK, LLC                                                                                                                  2017 to present
                    Attn: Larry Bober, CPA
                    2801 Lakeside Dr., 3rd Floor
                    Deerfield, IL 60015
       26a.3.       Anna L. Suarez                                                                                                             1990 to present
                    794 Lake Brim Dr.
                    Winter Garden, FL 34787

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      Time Definite Services, Inc.                                                               Case number (if known)



              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael A. Suarez                              794 Lake Brim Dr.                                   Officer / Shareholder /               100%
                                                      Winter Garden, FL 34787                             Director

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Anna L. Suarez                                 794 Lake Brim Dr.                                   Insider Employee                      0%
                                                      Winter Garden, FL 34787



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Michael A. Suarez
       .    794 Lake Brim Dr.                                    $15,000 Bi-weekly
               Winter Garden, FL 34787                           $180,000 YTD                                            Bi-Weekly          Salary

               Relationship to debtor
               Officer


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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 Debtor      Time Definite Services, Inc.                                                               Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2 Anna L. Suarez
       .    794 Lake Brim Dr.                                    $1,220 Bi-weekly
               Winter Garden, FL 34787                           $7,896.42 YTD                                           Bi-Weekly         Salary

               Relationship to debtor
               Insider Employee


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Time Definite Services, Inc.                                                               Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 12, 2019

 /s/ Michael Suarez                                                     Michael Suarez
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 9
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                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Michael A. Suarez                                                                                                               100%
 794 Lake Brim Dr.
 Winter Garden, FL 34787


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date July 12, 2019                                                          Signature /s/ Michael Suarez
                                                                                            Michael Suarez

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       July 12, 2019                                            /s/ Michael Suarez
                                                                      Michael Suarez/President
                                                                      Signer/Title




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Time Definite Services, Inc.       Buddy D. Ford, Esquire                 American Express
794 Lake Brim Dr.                  Buddy D. Ford, P.A.                    c/o Becket and Lee LLP
Winter Garden, FL 34787            9301 West Hillsborough Avenue          PO Box 3001
                                   Tampa, FL 33615-3008                   Malvern, PA 19355


Atlantic Specialty Insurance       Attorney General - Ohio                BGE
Co., c/o Catri, Holton, EtAl       150 E. Gay St., 21st Floor             PO Box 1475
633 S. Andrews Ave., 3rd Flr       Columbus, OH 43215                     Baltimore, MD 21203
Fort Lauderdale, FL 33301


BMO Harris Bank, NA                BMO Harris Bank, NA                    Department of Revenue
300 E John Carpenter Freeway       300 E John Carpenter                   PO Box 6668
Irving, TX 75062-2712              Freeway                                Tallahassee, FL 32314
                                   Irving, TX 75062-2712


Georgia Dept. of Revenue           Georgia Dept. of Revenue               Illinois Dept. of Revenue
Compliance Division                Taxpayer Services Div.                 Bankruptcy Unit
ARCS - Bankruptcy                  PO Box 105499                          PO Box 19035
1800 Century Blvd NE,Ste9100       Atlanta, GA 30348-5499                 Springfield, IL 62794-9035
Atlanta, GA 30345-3202

Incorp                             Indiana Dept. of Revenue               Internal Revenue Service
3773 Howard Hughes Pkwy            PO Box 7206                            PO Box 7346
Suite 500S                         Indianapolis, IN 46207-7206            Philadelphia, PA 19101-7346
Las Vegas, NV 89169-6014


JLL / BLP Industrial               JPMorgan Chase Bank, NA                JPMorgan Chase Bank, NA
c/o BPREP Randall Point LLC        55 S. Main Street                      111 Polaris Pkwy, Ste. A3
8755 W. Higgins Rd., Ste.700       Naperville, IL 60540-5314              Columbus, OH 43240
Chicago, IL 60631


JPMorgan Chase Bank, NA            Lykes Cartage Co., LLC                 MAC Trailer Leasing, dba
Manager Wholesale Loan Ops         c/o Zimmerman, Kiser, EtAl             PLM Trailer Leasing
10 S. Dearborn, IL1-1145           315 E. Robinson St., Ste.600           14095 Collections Center Dr.
(Floor L2)                         Orlando, FL 32801                      Chicago, IL 60693
Chicago, IL 60603-2300

Matthew D. Brash                   Michael Suarez                         Navistar, Inc, fka Internt'l
c/o Levenfeld Pearl SteinLLC       794 Lake Brim Dr.                      Truck & Engine Corporation
2 N LaSalle St., Ste. 1300         Winter Garden, FL 34787                c/o Sanchez Daniels, Et.Al.
Chicago, IL 60602                                                         333 W Wacker Dr., Ste.500
                                                                          Chicago, IL 60606

Nebraska Dept. of Revenue          New Jersey Dept. of Revenue            Ofc of the Attorney General
Attn: Bankruptcy                   Bankruptcy Unit                        PO Box 12548
PO Box 94818                       50 Barrack St., 9th Floor              Austin, TX 78711-2548
Lincoln, NE 68509-4818             PO Box 245
                                   Trenton, NJ 08695-0245
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Ohio Dept. of Revenue              Ostrow Reisin Berk                    Peoples Capital & Leasing
Bankruptcy Division                & Abrams, Ltd., Et.Al.                Corp.
4485 Northland Ridge Blvd.         c/o Hinshaw & Culbertson, LL          850 Main Street, BC-03
Columbus, OH 43229                 151 N Franklin, Ste. 2500             Bridgeport, CT 06604
                                   Chicago, IL 60606

PLM Leasing                        PNC                                   PNC Equpment Finance, LLC
14095 Collections Center Dr.       2021 Springs Road, Ste 400            995 Dalton Ave.
Chicago, IL 60693                  Oak Brook, IL 60523                   Cincinnati, OH 45203



Randall Point Business Cntr        Safe Trucking Insurance, Ltd          Signature Financia LLC
c/o Pancor Management LLC          c/o Cottingham & Butler               10345 Willows Rd. NE
2175 Point Blvd., Ste. 125         PO Box 449                            Ste. 120
Elgin, IL 60123                    Dubuque, IA 52004-0449                Redmond, WA 98052


Signature Financial, LLC           Sumitomo Mitsui Finance               Tennessee Dept. of Revenue
225 Broadhollow Rd, Ste.132W       and Leasing Co., Ltd                  44 Vantage Way, Suite 160
Melville, NY 11747                 277 Park Ave., 15th Floor             Nashville, TN 37243-8050
                                   New York, NY 10172


Texas Dept. of Revenue             Transportation Insurance              US Bank Equipment Finance
Comptroller of Public Accts        Advisors (Markel)                     1310 Madrid Street
111 E. 17th Street                 113 Bellagio Circle                   Marshall, MN 56258
Austin, TX 78774                   Sanford, FL 32771


VFS Leasing Co.                    Volvo Financial Services US           Webster Capital Finance
7025 Albert Pick Rd.               LLC                                   3 Farm Glen Blvd.
Ste. 105 (27409                    PO Box 26131                          Farmington, CT 06032
PO Box 26131                       Greensboro, NC 27402-6131
Greensboro, NC 27402-6131

Webster Capital Finance            Wells Fargo Equipment
344 Main St.                       Finance, Inc.
Berlin, CT 06037                   PO Box 310704
                                   Des Moines, IA 50331-0704
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                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $               58,283.00
             Prior to the filing of this statement I have received                                          $               58,283.00
             Balance Due                                                                                    $                     0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           Additional fees and/or costs due after depletion of the retainer shall be applied
                                                                     for

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 12, 2019                                                                  /s/ Buddy D. Ford, Esquire
     Date                                                                           Buddy D. Ford, Esquire 0654711
                                                                                    Signature of Attorney
                                                                                    Buddy D. Ford, P.A.
                                                                                    9301 West Hillsborough Avenue
                                                                                    Tampa, FL 33615-3008
                                                                                    (813)877-4669 Fax: (813)877-5543
                                                                                    All@tampaesq.com
                                                                                    Name of law firm




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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Time Definite Services, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 July 12, 2019                                                       /s/ Buddy D. Ford, Esquire
 Date                                                                Buddy D. Ford, Esquire 0654711
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Time Definite Services, Inc.
                                                                     Buddy D. Ford, P.A.
                                                                     9301 West Hillsborough Avenue
                                                                     Tampa, FL 33615-3008
                                                                     (813)877-4669 Fax:(813)877-5543
                                                                     All@tampaesq.com




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